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              EXHIBIT 4




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                   I\TIVX$VITSVX$SJ$NEQMI$KSPHFIVK$KIVWSR$$

           52$M$lezi$fiir$vixemrih$ew$er$mrhitirhirx$i|tivx$sr$filepj$sj$tpemrxmjj$$

    ]2]2K2Q2$WE$h2f2e2$Fverh}$Qipzmppi$,vijivvih$xs$liviejxiv$ew$Fverh}$Qipzmppi-$$

    mr$xli$qexxiv$sj$"]2]2K2Q2$WE$h2f2e2$Fverh}$Qipzmppi$z2$Vihfyffpi0$Mrg20$Gewi$$

    Rs2$6>5=1gz18:5<0$mr$xli$Yrmxih$Wxexiw$Hmwxvmgx$Gsyvx$jsv$xli$Girxvep$Hmwxvmgx$sj$$

    Gepmjsvrme2$Q}$uyepmjmgexmsrw$evi$wyqqevm~ih$fips{2$$

           FEGOKVSYRH$$

           62$Mr$64570$M$kvehyexih$jvsq$xli$Yrmzivwmx}$sj$Xi|ew$ex$Eywxmr${mxl$e$$

    hikvii$mr$Wtsvxw$Qerekiqirx$erh$e$qmrsv$mr$Gsvtsvexi$Gsqqyrmgexmsr2$Xlvsykl$$

    q}$}ievw$ex$xli$Yrmzivwmx}$sj$Xi|ew0$M${svoih$mr$xli$Yrmzivwmx}$Qevoixmrk$erh$$

    Pmgirwmrk$sjjmgi$yrhiv$xli$Ewwmwxerx$Exlpixmg$Hmvigxsv${ls$szivwe{$Xvehiqevo$$

    Pmgirwmrk2$$

           72$Jspps{mrk$kvehyexmsr0$M${ew$iqtps}ih$f}$xli$Eqivmger$Emvpmriw$$

    Girxiv$mr$Heppew0$Xi|ew0$jmvwx$ew$Qerekiv$sj$Tviqmyq$Wivzmgiw0$xlir$ew$Wirmsv$$

    Qerekiv$sj$Tviqmyq$Wivzmgiw2$M${svoih$hmvigxp}${mxl$xli$Heppew$Qezivmgow$$

    fewoixfepp$xieq$erh$Heppew$Wxevw$lsgoi}$xieq$xs$pievr$xli$xvyi$zepyi$sj$xlimv$$

    xvehiqevow$sr$er$mrxivrexmsrep$wgepi2$M$we{$jmvwxlerh$xlex$gsyrxivjimxmrk${ew$$

    figsqmrk$e$fmkkiv$tvsfpiq$srpmri$xler$mx${ew$syxwmhi$sj$xli$wxehmyq0$erh$xlex$$




                                                                                           5$




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    gsyrxivjimx$qivglerhmwi${ew$ejjigxmrk$rsx$srp}$xli$jvsrx$sjjmgi0$fyx$tpe}ivw0$xlimv$

    jeqmpmiw0$jerw0$erh$gsrwyqivw2$M$hizipstih$e$tewwmsr$jsv$xvehiqevo$pmgirwmrk$erh$$

    higmhih$xs$qszi$mrxs$xli$srpmri$wtegi${livi$M$gsyph$lipt$fverhw$kvs{$xlvsykl$

    srpmri0$i1gsqqivgi$pmgirwmrk2$$


           82$Jvsq$Eykywx$6459ÒNyri$645;0$M${ew$iqtps}ih$f}$JerTvmrx$ew$$

    Hmvigxsv$sj$Pmgirwmrk$erh$Fywmriww$Hizipstqirx2$Mr$xlmw$vspi0$M$qerekih$wizivep$$

    qensv$pmgirwmrk$vipexmsrwlmtw${mxl$irxmxmiw$wygl$ew$xli$Rexmsrep$Jssxfepp$Piekyi$$

    Tpe}ivw$Ewwsgmexmsr$,RJPTE-0$xli$Rexmsrep$Lsgoi}$Piekyi$Tpe}ivw$Ewwsgmexmsr$$

    ,RLPTE-0$xli$Qensv$Piekyi$Fewifepp$Tpe}ivw$Ewwsgmexmsr$,QPFTE-0$xli$Heppew$$

    Gs{fs}w0$REWGEV0$Rmgoipshisr0$Gsppikmexi$Pmgirwmrk$Gsqter}0$Pievjmiph$$

    Pmgirwmrk0$Jivqexe$Pmgirwmrk$Tevxrivw0$erh$qer}$sxlivw2$M$riksxmexih$erh$i|igyxih$$

    pmgirwmrk$ekviiqirxw${mxl$iegl$sj$xliwi$irxmxmiw2$$

           92$JerTvmrx$wippw$pmgirwih$tvmrx1sr1hiqerh$ettevip$xlvsykl$xevkixih$$

    ehzivxmwmrk$sr$wsgmep$qihme${ifwmxiw2$M$leh$jmvwxlerh$i|tivmirgi$wiimrk$JerTvmrx$$

    hiwmkrw$wls{$yt$jsv$wepi$sr$Vihfyffpi$erh$qer}$sxliv$tvmrx1sr1hiqerh${ifwmxiw$$

    {mxlsyx$ettvszep2$M$wtirx$gsyrxpiww$lsyvw$mr$qiixmrkw${mxl$wsqi$sj$xli$xst$$

    xvehiqevo$lsphivw$mr$xli${svph$hmwgywwmrk$xli$mqtegx$sj$gsyrxivjimx$qivglerhmwi$sr$$

    xli$Vihfyffpi${ifwmxi2$M$figeqi$jeqmpmev${mxl$xli$heqekmrk$ijjigx$xlex$gsyrxivjimx$$


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    {ew$lezmrk$sr$xvehiqevo$lsphivw$erh$xli$gsrjywmsr$mx$geywih$jerw$erh$gsrwyqivw2$$

    Xlmw$zmwmfmpmx}$erh$i|tivmirgi$wtevoih$q}$tewwmsr$xs$wspzi$xli$gsyrxivjimx$mwwyi$$

    srpmri$erh$fvmhki$xli$ket$fix{iir$xli$igsqqivgi${svph$erh$pmgirwsvw2$$

    $
           :2$M$figeqi$e$jsyrhmrk$qiqfiv$sj$xli$Fverh$Tvsxigxmsr$Gsepmxmsr$mr$$

    64590$er$svkerm~exmsr$gviexih$xs$lipt$pmgirwiiw$mhirxmj}$erh$vitsvx$gsyrxivjimx$$

    qivglerhmwi$xs$xlimv$pmgirwsvw$erh$xvehiqevo$lsphivw2$M$liptih$ihygexi$fverhw$sr$$

    xli$qswx$ikvikmsyw$zmspexsvw$fewih$sr$hexe$xlex${ew$fimrk$gsppigxih0$ls{$xlimv$$

    {lmxi1pefipih${ifwmxiw$erh$wxsvijvsrxw${svoih0$erh$xli$wizivmx}$sj$ls{$tvmrx1sr1$$

    hiqerh$wmxiw${ivi$zmspexmrk$xlimv$xvehiqevow2$M$ewwmwxih$mr$gsppigxmrk$hexe$sr$xliwi$$

    vitiex$zmspexsvw$erh$liptih$xiegl$xliwi$fverhw$xli$qswx$ijjigxmzi${e}$xs$vitsvx$MT$$

    mrjvmrkiqirx$srpmri2$$

           ;2$Xli$tvizepirgi$erh$mrgviewi$sj$gsyrxivjimx$qivglerhmwi$sr$tvmrx1sr1$$

    hiqerh${ifwmxiw0$erh$yrhivwxerhmrk$xlex$MT$irjsvgiqirx$mw$sj$teveqsyrx$$

    mqtsvxergi$xs$MT$lsphivw0$mw${lex$pih$q}$i|igyxmzi$xieq$erh$qi$xs$gviexi$syv$$

    gsqter}$GsyrxivJmrh0$Mrg2$,ÔGsyrxivJmrhÕ-2$Mr$Nyri$645;0$M${ew$sri$sj$xli$$

    jsyrhmrk$qiqfivw$sj$GsyrxivJmrh0$er$mrxivrix$fewih$F6F$wsjx{evi$ywih$f}$qsvi$$

    xler$=4$sj$xli${svph×w$qswx$vigskrm~efpi$xvehiqevo$lsphivw$xs$jmrh$erh$viqszi$$

    gsyrxivjimx$qivglerhmwi$jvsq$srpmri$qevoixtpegiw2$$

                                                                                              7$




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                                                                                             Page 6
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           <2$Xli$GsyrxivJmrh$tpexjsvq$typpw$hexe$jvsq$wsgmep$qihme${ifwmxiw$$

    pmoi$Jegifsso$erh$Mrwxekveq$xs$w}wxiqexmgepp}$jmrh$erh$viuyiwx$viqszep$sj$ehw$erh$$

    tswxw$qevoixmrk$gsyrxivjimx$tvshygxw$sr$xlmvh$tevx}${ifwmxiw2$Wtigmjmgepp}0$xli$$

    tpexjsvq$kmziw$ywivw$xli$efmpmx}$xs$wyfqmx$rsxmgiw$viuyiwxmrk$xlex$gsyrxivjimx$$

    tvshygxw$evi$tvsqtxp}$viqszih2$GsyrxivJmrh$epws$typpw$hexe$jvsq$Eqe~sr0$$

    Ixw}0$Ksskpi$Wlsttmrk0$erh$Vihfyffpi0$eqsrk$sxliv$tvmrx1sr1hiqerh$$

    tpexjsvqw0$xs$w}wxiqexmgepp}$mhirxmj}$pmwxmrkw${mxl$gpiev$gst}vmklx$sv$xvehiqevo$$

    mrjvmrkiqirxw$wygl$xlex$MT$vmklxw$lsphivw$qe}$viuyiwx$viqszep$sj$xli$mrjvmrkmrk$$

    tvshygxw2$$

           =2$GsyrxivJmrh×w$tpexjsvq$gsppigxw$qsvi$xler$64$hexe$tsmrxw$tiv$pmwxmrk$xs$$

    kmzi$ywivw$e$gpiev$zmwmfmpmx}$mrxs$xli$xst$zmspexsvw$mr$xli$gsyrxivjimx$wtegi2$$

           542$Q}$xmxpi$ex$GsyrxivJmrh$mw$Wirmsv$Hmvigxsv$sj$Fywmriww$Hizipstqirx0$$

    fyx$ew$sri$sj$xli$jsyrhmrk$qiqfivw$sj$GsyrxivJmrh0$M$epws$qereki$xli$gsqter}×w$$

    erxm1mrjvmrkiqirx$stivexmsrw2$Q}$vspi$lew$jsyv$qemr$jyrgxmsrw$xlex$mrgpyhi$wepiw0$$

    hizipstqirx0$lmvmrk0$erh$eggsyrx$qerekiqirx2$Ew$tevx$sj$xli$wepiw$tvsgiww0$M$$

    ihygexi$gsqtermiw$erh$xlimv$pikep$xieqw$sr$xli$fiwx$erxm1gsyrxivjimxmrk$wxvexikmiw$$

    jsv$srpmri$tvmrx1sr1hiqerh${ifwmxiw$erh$qevoixtpegiw2$Mr$ehhmxmsr$xs$kvs{mrk$$

    GsyrxivJmrh×w$wepiw0$M$lezi$mqtpiqirxih$erh$i|igyxih$GsyrxivJmrh×w$$


                                                                                            8$




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                                                                                           Page 7
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    hizipstqirxep$zmwmsr$erh$vsehqet2$$

           552$Q}$tvizmsyw$xvehiqevo$pmgirwmrk$i|tivmirgi$geqi$mrxs$tpe}${lir$$

    gvejxmrk$syv$mrmxmep$tvshygx$zmwmsr2$M${svoih$xs$syxpmri$xli$eyxsqexmsr$sj$tvizmsywp}$$

    qeryep$hexe$gsppigxmsr0$vitsvxmrk$getefmpmxmiw0$erh$tvszmhi$fverhw${mxl$hexe$i|tsvxw$$

    xs$mhirxmj}$xli$qswx$ikvikmsyw$wippivw$erh$tpexjsvqw2$Ew$srpmri$fverh$tvsxigxmsr$lew$$

    figsqi$qsvi$sj$er$mrhywxv}$wxerhevh0$M$lezi$gsrxmryih$xs$izspzi$syv$tvshygx$xs$$

    wxe}$elieh$sj$xli$iziv1glerkmrk$perhwgeti$sj$srpmri$qevoixtpegiw$f}${svomrk$ew$e$$

    piehiv$jsv$syv$hizipstqirx$xieq2$$

    $
           562$M$lezi$tivwsrepp}$mrxivzmi{ih$epp$sj$syv$oi}$hizipstivw0$hexe$erep}wxw0$$

    erh$pikep$i|tivxw$xs$qeoi$wyvi$xlex$xlimv$egyqir${ew$ehzergih$irsykl$xs$$

    yrhivwxerh$xli$erxm1gsyrxivjimxmrk$mrhywxv}2$M$jyvxliv$qereki$wygl$tivwsrrip$ew$$

    xli}$tivjsvq$xlimv$erxm1mrjvmrkiqirx${svo2$M$epws$qemrxemr${svomrk$vipexmsrwlmtw$$

    {mxl$epp$sj$syv$gpmirxw$mr$svhiv$xs$oiit$q}$iev$xs$xli$kvsyrh$sr$ri{$jiexyviw$jsv$$

    mqtpiqirxexmsr$erh$qereki$GsyrxivJmrh×w$jyxyvi$hizipstqirx$vsehqet2$$

           572$Ew$e$piehiv$mr$xli$fverh$tvsxigxmsr$wtegi0$M$gs1glemvih$xli$jmvwx$erryep$$

    GsyrxivxJmrh$Fverh$Tvsxigxmsr$Wyqqmx$mr$Rsziqfiv$645=$mr$Ri{$]svo$Gmx}0$$

    lswxih$f}$[evriv$Qywmg$kvsyt2$Qsvi$xler$;9$pikep$gsyrwipw$erh$xvehiqevo$$

    wtigmepmwxw$exxirhih$syv$izirx$jvsq$egvsww$xli$gsyrxv}$xs$liev$pikep0$pmgirwmrk0$erh$$

                                                                                               9$




                                                                                               Ex. 4
                                                                                              Page 8
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    xvehiqevo$i|tivxw$wtieo$efsyx$fiwx$tvegxmgiw$erh$ls{$xs$xeoi$egxmsr$ew$er$mrhywxv}2$$

            582$M$eq$epws$mrzspzih$mr$qer}$tvsjiwwmsrep$svkerm~exmsrw$wyvvsyrhmrk$xli$$

    srpmri$fverh$tvsxigxmsr$wtegi2$M$eq$e$qiqfiv$erh$wtsrwsv$sj$xli$Mrxivrexmsrep$$

    Xvehiqevo$Ewwsgmexmsr$,MRXE-0${livi$q}$xieq$erh$M$exxirh$erryep$qiixmrkw2$M$eq$$

    e$qiqfiv$sj$xli$Mrxivrexmsrep$Erxm1Gsyrxivjimxmrk$Gsepmxmsr0${livi$M$exxirh$xlimv$$

    erryep$gsrjivirgi$ew$er$sttsvxyrmx}$xs$qiix${mxl$sxliv$tvsjiwwmsrepw$mr$xlmw$wtegi$$

    {ls$evi$jmklxmrk$jsv$xli$vmklxw$sj$fverhw$srpmri2$M×q$epws$e$qiqfiv$sj$Pmgirwmrk$$

    Mrxivrexmsrep0${livi$M$vikypevp}$exxirh$xli$Pmgirwmrk$I|ts0$erh$Erryep$Piehivwlmt$$

    qiixmrkw$wtigmjmgepp}$xs$ehhviww$Vihfyffpi$erh$srpmri$fverh$tvsxigxmsr2$Mr$$

    ehhmxmsr0$M$eq$e$qiqfiv$sj$xli$Mrxivrexmsrep$Gsppikmexi$Pmgirwmrk$Ewwsgmexmsr$$
    $
    ,MGPE-${livi${i$lswx$izirxw$exxirhih$f}$xli$qensvmx}$sj$gsppikmexi$pmgirwmrk$$

    hmvigxsvw0$qer}$sj${lsq$ywi$GsyrxivJmrh$jsv$xlimv$srpmri$fverh$tvsxigxmsr$ijjsvxw2$$

            592$M$lezi$hiit$vipexmsrwlmtw${mxlmr$xli$xvehiqevo$pmgirwmrk$mrhywxv}$$

    {livi$M$lezi${svoih${mxl$fverhw$verkmrk$jvsq$xli$Heppew$Gs{fs}w$erh$Wsr}$$

    Tmgxyviw$xs$Yrmzivwep$Qywmg$Kvsyt$mr$svhiv$xs$fvmrk$xliq$sr$ew$GsyrxivJmrh$$

    gpmirxw2$$

            5:2$$M$lezi$rsx$eyxlsvih$er}$tyfpmgexmsrw$mr$xli$tewx$54$}ievw2$

            5;2$[mxlmr$xli$tewx$jsyv$}ievw0$M$lezi$rsx$xiwxmjmih$ex$xvmep$sv$ex$hitswmxmsr$$


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                                                                                               Page 9
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    ew$er$i|tivx2$$

           5<2$M$eq$fimrk$gsqtirwexih$ex$e$vexi$sj$(994$tiv$lsyv$jsv$q}$tvsjiwwmsrep$$

    wivzmgiw$vipexih$xs$xlmw$tvsnigx0$yt$xs$e$xsxep$sj$(;0944$jsv$xli$tvitevexmsr$sj$xlmw$$

    vitsvx2$$

           WGSTI$SJ$EWWMKRQIRX$

           5=2$M$lezi$fiir$vixemrih$xs$erep}~i$erh$tvszmhi$stmrmsrw$efsyx$Vihfyffpi×w$

    $exxiqtxw$xs$tspmgi$mrjvmrkmrk$gsrxirx$erh${lixliv$xli}$ks$fi}srh${lex$sxliv0$$

    wmqmpevp}$wmxyexih$gsqtermiw$hs2$ $
    $
            JEGXW$GSRWMHIVIH$$

           642$Mr$gsrhygxmrk$q}$ewwmkrqirx0$M$vizmi{ih$erh$gsrwmhivih$hsgyqirxw$$

    gsrgivrmrk$Vihfyffpi×w$tspmgmiw$erh$tvsgihyviw$jsv$tspmgmrk$mrjvmrkiqirxw$$

    kirivepp}0$erh$vipexih$xs$Fverh}$Qipzmppi$wtigmjmgepp}0$mrgpyhmrk$VFFQ45:<9;0$$

    VFFQ45:<:70$VFFQ45:<:90$VFFQ4:::540$VFFQ4:::550$VFFQ4:::5;0$$

    VFFQ4:::670$VFFQ6585=50$VFFQ6585=70$VFFQ6585=80$VFFQ6585=90$$

    VFFQ6585=:0$VFFQ6586440$VFFQ6586460$VFFQ6586490$VFFQ65864:0$$

    VFFQ65864<0$VFFQ65864=0$VFFQ6586860$VFFQ6586980$VFFQ65869:0$

    $VFFQ65869<0$VFFQ6586:40$VFFQ6586:<0$VFFQ6586=70$VFFQ65874;0$$

    VFFQ6587540$VFFQ6587590$VFFQ6587660$VFFQ65876;0$VFFQ6587750$$


                                                                                                ;$




                                                                                                Ex. 4
                                                                                              Page 10
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    VFFQ6587790$VFFQ65877=0$VFFQ6587860$VFFQ6587870$VFFQ65878<0$$

    VFFQ6587950$VFFQ65879<0$VFFQ6587:50$VFFQ6587:60$VFFQ658<:;0$$

    VFFQ658<;:0$VFFQ658<<50$VFFQ658<<;0$erh$VFFQ658=472$ $

           652$M$epws$vizmi{ih$erh$gsrwmhivih$Fverh}$Qipzmppi×w$Gsqtpemrx$erh$$

    Vihfyffpi×w$Erw{iv2$

           662$M$jyvxliv$gsrwmhivih$erep}xmgep$hexe$qemrxemrih$f}$GsyrxivJmrh$sr$$

    filepj$sj$mxw$gpmirxw$mr$tspmgmrk$mrjvmrkiqirxw$sr${ifwmxiw$wygl$ew$$

    Vihfyffpi0$Wyrjvsk0$Wtviehwlmvx0$Eqe~sr0$Jegifsso0$erh$Ixw}2$Figeywi$sj$$

    GsyrxivJmrh×w$vspi$vitviwirxmrk$qer}$fverhw0$mx$lew$gsqtmpih$e$pevki$eqsyrx$sj$$

    erep}xmgep$hexe$vipexih$xs$xli$qswx$zmwmfpi$tvmrx1sr1hiqerh$tpexjsvqw2$[mxl$viwtigx$$

    xs$xlmw$ekkvikexi$hexe0$M$lezi$gsrwmhivih$hexe$vipexih$xs$xli$ryqfiv$sj$tvshygx$$

    pmwxmrkw$wyfqmxxih$f}$ywivw$xs$iegl$sj$xli$mrhmzmhyep${ifwmxiw$erh$xli$xmqi$fix{iir$$

    {lir$e$gpmirx$vitsvxih$e$pmwxmrk$xs$iegl$qevoixtpegi$erh$ls{$psrk$mx$xsso$xlex$$

    qevoixtpegi$xs$viqszi$xli$tvshygx$jsv$wepi2$M$epws$pssoih$ex$hexe$xlex$wls{w$wippivw$$

    {ls${ivi$efpi$xs$wipp$tvshygxw$qypxmtpi$xmqiw$ejxiv$e$wyggiwwjyp$mrjvmrkiqirx$vitsvx$$

    leh$fiir$wyfqmxxih$ekemrwx$xliq2$$

           672$M$jyvxliv$gsrwmhivih$q}$mrhywxv}$i|tivmirgi$mr$tspmgmrk$mrjvmrkiqirxw$$

    sr$filepj$sj$GsyrxivJmrh×w$gpmirxw2$Xlmw$i|tivmirgi$mrgpyhiw$tspmgmrk$$
    $

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                                                                                           Ex. 4
                                                                                         Page 11
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     mrjvmrkiqirxw$jsv$syv$vitviwirxexmzi$fverhw$sr$Vihfyffpi0$ew${ipp$ew$wmqmpevp}$$

     wmxyexih$tpexjsvqw$wygl$ew$Wyrjvsk2gsq0$Wtviehwlmvx2gsq0$Eqe~sr2gsq0$$

     Jegifsso2gsq0$Ixw}0$GlmtGlmtXii2gsq0$Zmvepwx}pi2gsq0$Xii~mp}2gsq0$$

     gywxsqkpsv}2gsq0$xii8jerw2gpyf0$e{iwlmvxw2rix0$pyrevxii2gsq0$viwlstwxsvi2gsq0$$

     wlstmj}2gsq0$qsxiiji2gsq0$xiilek2gsq0$xii1lspmg2gsq0$xiityfpmg2gsq0$xiijyip2gsq0$$

     xiipm~~2gsq0$xmtswlmvx2gsq0$gsspgywxsqwlmvx2gsq0$xiioepef2gsq0$lspexii2gsq0$$

     q}jvskxii2gsq0$uymr~iiw2gsq0$kievfyffpi2gsq0$q}hvieqwxsvi2mr0$$

     q}xvirh}qykw2gsq0$xlikievwtsx2gs0$wyrjvskwlmvxw2gsq0$xiiwhehh}2gsq0$$

     e{iwsqijerexmgw2gsq0$xii1jewlmsrwlst2gsq0$xiikyrr}0gsq0$ywkievpeyrgl2gsq0$$

     hqw6xii2gsq0$vejmomkiev2gsq0$nivwi}wyw2vy0$wxsvikpsv}2gsq0$xiiywxsvi2gsq0$$

     rmgijvskxiiw2gsq0$xiiwksks2gsq0$hixigxmziwlmvxw2gsq0$rmgixiitvs2gsq0$xii8;2gsq0$$

     fiwxwlmvxw52mrjs0$xiifieyxmjyp2gsq0$gve~}gsspgywxsqxiiw2gsq0$xlihmlevhjerw2gsq0$$

     e{iwsqixiiwlmvxw2gsq0$xlikieveti|2gsq0$gsspkmjxwrs{2gsq0$fiwx8wlmvx2gsq0$$

     wyrjvskwlmvxw82mrjs0$xiipy|m2gsq0$xiifmp}2gsq0$xiiwgmvgpi2gsq0$xiiwlmvxtyfpmg2gsq0$$

     xiiwtvmrk2gsq0$wtsvxwjerxiiw2gsq0$wxsvirz}2gsq0$mksxxelezimxwlst2gsq0$$

     w{ekwlmvxw==2gsq0$fiwxkiev==2gsq0$xiixewxi2gsq0$piixewxi2gsq0$ferherejiziv2gsq0$$

     qwxii2gs0$7hwlmvxwxsvi2gsq0$tvmrxihhvieq2gsq0$jer~xewxmg2gsq0$jewlmsrkmvhpi2gsq0$$

     pskswsjx{iev2gsq0$gejitviww2gsq0$fpmrkmrxiiw2gsq0${epqevx2gsq0$$

     sphwosspwlmvxw2gsq0$ve{xiiwkiev2gsq0$ofxii~2gsq0$xlviehqiyt2gsq0$$

                                                                                              =$




                                                                                              Ex. 4
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     xiiwjewlmsrwx}pi2gsq0$wlstglmppxiiw2gsq0$epnivwi}wxsvi2gsq0$kixqifihe~~pih2gsq0$$
     $
     rjpwxsvisjjmgmep2vy0$~e~~pi2gsq0$xii8pmji2gsq0$wyttivxwlmvx2rix0$tvsnivwi}gliet2gsq0$$

     fiwxtvmrxiziv2gsq0$pepewhmwgsyrx2gsq0$lyqsyvwlstw2gsq0$kpsvmsywpikkmrkw2gsq0$$

     q}fmkgsqqivgi2gsq0$xvirh}kveffiv2gsq0$xirysywlmvx2gsq0$wtsvxwlmvxpszi2gsq0$$

     fsrkxii2gsq0$wgvskiwxsvi2gsq0$hygerzew2gsq0$rszxiiwwxsviww2gsq0$e{iwsqi1$$

     xwlmvx2gsq0$gsspwyrr}xii2gsq0$|qiwxiiw2gsq0$xii6yw2gsq0$56=wxsvi2gsq0$$

     xiiexst2gsq0$e~1xii2gsq0$xiiewlp2gsq0$ksrkglexii2gsq0$wwpxii2gsq0$tvmrxgsvr2gsq0$$

     xiitewxe2gsq0$~=rmri2gsq0$mwyrwlmriw2gsq0$wxe}lyrkv}wlmvx2gsq0$xsrewii2gsq0$$

     =9{iev2gsq0$fiertvmrxw2gsq0$~e~~mpii2rix0$iiwsqikmjx2gsq0$xhxxii2gsq0$$

     q8yxiiw2gsq0$wlstxiisrpmri2gsq0$hsqmxii2gsq0$weqhmxii2gsq0$xiixvstmgep2gsq0$$

     wxiiqxii2gsq0$wtsvxwx}pi2gs0$~mrk~mrkxii2gsq0$xmrkxii2gsq0$gmzmpxii2gsq0$erh$$

     hveksrwlstsrpmri2gsq2$$

            682$M$lezi$szivwiir$xli$vitsvxmrk$sj$qsvi$xler$6940444$ehw0$tswxw0$erh$$

     hiwmkrw$wippmrk$mrjvmrkmrk$erh$gsyrxivjimx$tvshygxw$egvsww$ryqivsyw$tvmrx1sr1$$

     hiqerh${ifwmxiw2$M$lezi${svoih${mxl$q}$gpmirxw$xs$vitsvx$qsvi$xler$740444$$

     pmwxmrkw$wtigmjmgepp}$xs$Vihfyffpi2$Xlivi${ivi$qsvi$mrxippigxyep$tvstivx}$zmspexmsrw$$

     sr$Vihfyffpi$xler$er}$sxliv$tvmrx1sr1hiqerh${ifwmxi$xs${lmgl$syv$gpmirxw$wyfqmx$$

     vitsvxw2$$
     $

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            WYQQEV]$SJ$STMRMSRW$$

            692$Vihfyffpi$mw$sri$sj$xli${svwx$zmspexsvw${lir$mx$gsqiw$xs$tspmgmrk$$

     xlimv$qevoixtpegi$jsv$mrxippigxyep$tvstivx}$mrjvmrkiqirxw${lir$gsqtevih$xs$sxliv$$

     tvmrx1sr1hiqerh$wmxiw2$$

            WXEXIQIRX$SJ$STMRMSRW$$

            6:2$Qer}$sj$Vihfyffpi×w$mrxippigxyep$tvstivx}$zmspexmsrw$evi$gpiev2$Xlex$$

     mw0$gsyrxivjimx$sfnigxw$mrgsvtsvexmrk$i|egx$gstmiw$sj$xvehiqevow$erh$gst}vmklxw$evi$$

     gsqqsrtpegi$sr$xli$Vihfyffpi$tpexjsvq2$Qswx$sj$xliwi$gsyrxivjimxw$evi$sj${ipp1$$

     ors{r$mrxippigxyep$tvstivx}Óxli$viewsr${l}$mx$mw$tvsjmxefpi$xs$Ôorsgo$xliq$sjj2Õ$$

     Fverh}$Qipzmppi$mw$sri$sj$xlswi${mxl${ipp1ors{r$mrxippigxyep$tvstivx}2$$Fverh}$Qipzmppi$$

     mw$e$tstypev$erh${ipp1ors{r${sqir×w$fverh${mxl$vigskrm~efpi$psksw$erh$ettevip2$$M$$

     eq$jeqmpmev${mxl$xli$fverh$erh$xlimv$xvirh}$gpsxliw2$

            6;2$Vihfyffpi$hsiw$rsx$tvsegxmzip}$viqszi$hiwmkrw$xlex$lezi$fpexerx$$

     xvehiqevo$erh$gst}vmklx$zmspexmsrw${mxlsyx$vigimzmrk$e$wtigmjmg$xeoihs{r$rsxmgi$$

     jvsq$xli$MT$s{riv$ex$xli$mrhmzmhyep$pmwxmrk$pizip2$Vihfyffpi${vmxiw$sr$xlimv${ifwmxi$$

     yrhiv$xlimv$Mrxippigxyep$Tvstivx}$JEU0$ÔMx$mw$Vihfyffpi×w$tspmg}$xs$viqszi$$

     eppikihp}$mrjvmrkmrk${svow$mr$viwtsrwi$xs$zepmh$gsqtpemrxw$yrhiv$ettpmgefpi$pe{0$$

     fyx$gsrxirx$mw$srp}$viqszih${lir$mx$lew$fiir$wtigmjmgepp}$mhirxmjmih$ew$mrjvmrkmrk$mr$$

     e$pikepp}$zepmh$xeoihs{r$rsxmgi2$"[i$kirivepp}$hsr+x$ks$pssomrk$jsv$wmqmpev${svow$xs$$

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     viqszi$jvsq$xli$qevoixtpegi2Õ$_5$Uysxih$tspmg}$mw$ezempefpi$ex$$

     lxxtw>33lipt2vihfyffpi2gsq3lg3ir1yw3evxmgpiw3655;6:8471Q}1$[svo1[ew1Viqszih"2$a$$

     Vihfyffpi×w$pego$sj$tvsegxmzmx}${lir$mx$gsqiw$xs$tspmgmrk$xlimv$s{r$qevoixtpegi$mw$$

     {lex$qeoiw$xliq$sri$sj$xli$qswx$ikvikmsyw${ifwmxiw$jsv$vitiex$zmspexmsrw2$$

            6<2$Izir$wixxmrk$ewmhi$Vihfyffpi×w$jempyvi$xs$tvsegxmzip}$tspmgi$mxw$$

     tpexjsvq0$ex$e$qmrmqyq0$mx$mw$mrhywxv}$wxerhevh$xlex$srgi$e$wmrkpi$vitsvx$sj$e$gpiev$$

     mrxippigxyep$tvstivx}$zmspexmsr$mw$vitsvxih0$xli${ifwmxi$wlsyph$xlir$tvsegxmzip}$$

     wievgl$erh$viqszi$epp$ehhmxmsrep$wmqmpev$mrjvmrkiqirxw$sr$xlimv$wmxi$mr$svhiv$xs$fi$$

     gsqtpmerx0$mr$ehhmxmsr$xs$hmwefpmrk$wievgliw$jsv$xli$mrjvmrkmrk$qexivmep2$$

            6=2$Vihfyffpi$jeppw$wlsvx${lir$mx$gsqiw$xs$tvsqtxp}$viqszmrk$vitsvxih$$

     mrjvmrkmrk$tvshygxw2$"GsyrxivJmrh$vitviwirxw$qsvi$xler$=4$hmjjivirx$mrxippigxyep$$

     tvstivx}$vmklxw$lsphivw${mxl$xli$efmpmx}$xs$eggiww$hexe$erh$gvsww1vijivirgi$xst$$

     zmspexsvw$jsv$qypxmtpi$fverhw2$M$erep}~ih$hexe$jvsq$540=7:$hmjjivirx$tvshygxw$xlex$$

     {ivi$vitsvxih$xs$Vihfyffpi$f}$syv$gpmirxw$sziv$xli$tewx$xlvii$}ievw$jvsq$8079:$$

     yrmuyi$wippivw2$$

            742$Ywmrk$xlmw$hexe0$"M$erep}~ih$xli$eziveki$xmqi$mx$xsso$Vihfyffpi$xs$$

     viqszi$er$mrjvmrkmrk$tvshygx$jsv$wepi$jvsq$xlimv$wmxi$jvsq$xli$xmqi$mx${ew$vitsvxih$$

     f}$q}$gpmirxw2$M$jsyrh$xlex$Vihfyffpi×w$eziveki$viwtsrwi$xmqi$xs$viqszi$e$tvshygx$$


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     vitsvxih$f}$er$mrxippigxyep$tvstivx}$vmklxw$s{riv$mw$wm|$he}w2$$

            752$F}${e}$sj$gsqtevmwsr0$xli$eziveki$xyvrevsyrh$xmqi$jsv$syv$gpmirxw$$

     xlex$vitsvx$mrjvmrkiqirxw$xs$wmqmpev$tpexjsvqw$mrgpyhmrk$Wyrjvsk2gsq0$$

     Qsxiiji2gsq0$erh$Wtviehwlmvx2gsq$verkiw$jvsq$68Ò8<$lsyvw2$$
     $
           762$Jyvxliv0$izir$ejxiv$er$mrjvmrkiqirx$mw$vitsvxih0$Vihfyffpi$epps{w$$

     gsrwyqivw$xs$wievgl$fverh$reqiw$xlex$xli}$ors{$evi$xvehiqevoih0$jsv$i|eqtpi0$$

     Heppew$Gs{fs}w2$Mr$q}$i|tivmirgi${svomrk${mxl$sxliv$tvmrx1sr1hiqerh$wmxiw$erh$$

     qevoixtpegiw0$M$lezi$wiir$xlex$srgi$e$zmspexmsr$mw$vitsvxih$ywmrk$e$fverh$reqi0$xli$$

     wmxi${mpp$rsx$srp}$tvsegxmzip}$viqszi$epp$sxliv$mrjvmrkiqirxw0$fyx$xli}${mpp$fpsgo$$

     xli$wievgl$reqi$erh$mrxivrep$xek$ws$xlex$sxliv$hiwmkrw$gerrsx$fi$ytpsehih$ywmrk$$

     xlex$fverh$reqi0$rsv$ger$gsrwyqivw$wievgl$xs$jmrh$tvshygxw$ywmrk$xlex$fverh$sv$$

     xlimv$mrxippigxyep$tvstivx}2$$

            772$Ri|x0${lmpi$Vihfyffpi$gpemqw$xlex$ywivw$xlex$ytpseh$hiwmkrw$xlex$$

     zmspexi$mrxippigxyep$tvstivx}${mpp$fi$ferrih0$M$lezi$wiir$jmvwxlerh$xlex$Vihfyffpi$$

     epps{w$vitiex$zmspexsvw$erh$wippivw$xs$gsrxmrysywp}$tswx$erh$wipp$tvshygxw$ywmrk$xli$$

     weqi$xvehiqevow$erh$gst}vmklxw$xlex${ivi$vitsvxih$tvizmsywp}2$$

            782$M$lezi${mxriwwih$mrwxergiw${livi$mrxippigxyep$tvstivx}$vmklxw$lsphivw$$

     lezi$vitsvxih$e$wmrkpi$wippiv$sr$Vihfyffpi$sr$qsvi$xler$74$witevexi$sggewmsrw$jsv$$


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     wippmrk$mrjvmrkmrk$tvshygxw${mxlsyx$er}$eggsyrx$wywtirwmsr$sv$hmwvytxmsr$jvsq$$

     Vihfyffpi$mr$fix{iir$xlswi$vitsvxw2$[lmpi$xli$wtigmjmg$tvshygxw${ivi$izirxyepp}$$

     viqszih$ejxiv$iegl$vitsvx0$xli$wippiv${ew$efpi$xs$viqemr$egxmzi$erh$vipeyrgl$ri{$$

     mrjvmrkmrk$hiwmkrw$jsv$xli$weqi$mrxippigxyep$tvstivx}$xlex${ew$vitiexihp}$vitsvxih$$

     jsv$qsvi$xler$e$}iev2$Xlivi$mwr×x$nywx$sri$mrwxergi$sj$xlmw2$M×zi$wiir$lyrhvihw$sj$$

     gewiw$jvsq$syv$gpmirxw${livi$e$wippiv$sr$Vihfyffpi$lew$fiir$vitsvxih$qypxmtpi$$
     $
     xmqiw$fyx$gsrxmryiw$xs$peyrgl$xli$weqi$sv$ri{$tvshygxw$erh$mrjvmrki$xli$weqi$$

     fverh$sziv$erh$sziv$ekemr2$$

            792$Erep}~mrk$GsyrxivJmrh×w$ekkvikexi$hexe0$M$jsyrh$xlex$sj$xli$8079:$$

     wippivw$xlex${ivi$vitsvxih$f}$syv$gpmirxw$xs$Vihfyffpi0$504<5$sj$xliq${ivi$vitiex$$

     mrjvmrkivw$erh$leh$qsvi$xler$sri$vitsvx$wyfqmxxih$xs$Vihfyffpi$jsv$er$mrxippigxyep$$

     tvstivx}$zmspexmsr2$$

            7:2$Xli$ryqfiv$sj$xmqiw$xlex$e$wippiv$sr$Vihfyffpi$leh$xs$fi$vitsvxih$$

     qsvi$xler$srgi0$tvmsv$xs$eggsyrx$wywtirwmsr0$verkih$jvsq$x{s$xs$78$yrmuyi$vitsvxw$$

     xs$Vihfyffpi2$M$jsyrh$xlex$856$wippivw${ivi$vitsvxih$xlvii$sv$qsvi$xmqiw0$erh$5=9$$

     wippivw${ivi$vitsvxih$jsyv$sv$qsvi$xmqiw2$Xlivi${ivi$569$wippivw$xlex${ivi$vitsvxih$$

     jmzi$sv$qsvi$xmqiw$erh$=7$wippivw$vitsvxih$wm|$sv$qsvi$xmqiw2$$

            7;2$Mr$wyqqev}0$M$lezi$tivwsrepp}$rsx${mxriwwih$er}$jmvwx$lerh$Ôtvsegxmzi$$


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